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     Attorney for Defendant, JAMES JACKSON
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 6
 7                       IN THE UNITED STATES DISTRICT COURT FOR THE
 8                             EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                )       CASE NO. 06-00047 OWW
11                                            )
            Plaintiff,                        )
12                                            )       ORDER AFTER HEARING
     v.                                       )
13                                            )
     JAMES JACKSON,                       )
14   GARY BROWN,                 )
                                 )
15        Defendants.            )
     ____________________________)
16
            This matter came on regularly for hearing, before the Hon. Oliver W.
17
     Wanger, United States Senior District Court Judge, on November 27, 2006, for
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     hearing on the Motions in Limine filed on behalf of Defendant James Jackson on
19
     November 13, 2006, later joined by co-defendant Gary Brown. The United States
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     of America was represented by Kimberly Sanchez, Assistant United States
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     Attorney. Defendant Gary Brown was personally present and represented by his
22
     counsel Eric Green, Esq. James Jackson was personally present represented by
23
     his attorney Roger K. Litman, Esq.
24
            The court, having considered the motions in limine filed on behalf of Mr.
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     Jackson, the government’s response thereto filed on November 20, 2006, and the
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     argument of counsel, rendered the following rulings:
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            Defendants’ Motion in Limine I was granted. No evidence will be offered, or
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 1   argument made by any counsel, that Mr. Jackson was in custody on a child support
 2   matter when he was arrested and re-booked on the charges in the Indictment
 3   returned on February 9, 2006.
 4           Defendants’ Motion in Limine II was granted. Pursuant to Federal Rule of
 5   Criminal Procedure 24(b) the court determined that the defendants in this action
 6   would be allowed six joint peremptory challenges; each defendant was allowed
 7   four separate peremptory challenges for a total of 14 preemptory challenges.
 8           In consideration of the additional peremptory challenges allowed to the
 9   defendants, the government was allowed a total of seven peremptory challenges.
10           Defendants’ Motion in Limine III was granted subject to the stipulation of the
11   parties that the government would not be obligated to provide Jencks Act Material
12   or other requested discovery until after the next court hearing in this matter, on
13   December 4, 2006, and only in the event either or both defendants rejected the
14   pending offers of settlement and reconfirmed the matter for trial.
15           Defendants’ Motion in Limine IV was granted subject to the representation
16   by the government that it was reviewing discovery provided, and its files, to
17   confirm that all discovery required by law, and the orders of this court, were
18   provided to the defendants.
19           Defendants’ Motion in Limine V was granted. Absent a proper foundation,
20   no government witness will be permitted to testify to use of the nickname of “Jug”
21   or “Jugg” by Mr. Jackson or “Field Rat” by Mr. Brown.
22           Defendants’ Motion in Limine VI was granted based on the government’s
23   representation to the court that it did not intend to offer any evidence of other
24   crimes, wrongs or acts allegedly committed by the defendants pursuant to the
25   provisions of Federal Rule of Evidence 404(b), in its case in chief, but reserves the
26   right do so on rebuttal.
27   ///
28   ///

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        Case 1:06-cr-00047-LJO Document 40 Filed 12/04/06 Page 3 of 3


 1   Approved as to Form and Content:
 2
     DATED: November 29, 2006           /s/ Kimberly Sanchez
 3                                      Kimberly Sanchez, AUSA
                                        This was agreed to by Ms. Sanchez
 4                                      via telephone, on November 29, 2006
 5
     Approved as to Form and Content:
 6
 7   DATED: November 29, 2006           /s/ Eric Green
                                        Eric Green, Esq.
 8                                      This was agreed to by Mr. Green
                                        via telephone, on November 28, 2006
 9
10
11   IT IS SO ORDERED.
12   Dated: December 2, 2006                 /s/ Oliver W. Wanger
     emm0d6                             UNITED STATES DISTRICT JUDGE
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